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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF MICHIGAN

BONITA DARCEL GRIER,                         Case No. 17-cv-13274

         Plaintiff,                          Hon. Gershwin A. Drain

v.

MID-MICHIGAN CREDIT BUREAU,
INC.,

         Defendant.


                          STIPULATION OF DISMISSAL
                      WITH PREJUDICE AND WITHOUT COSTS

         The parties, as evidenced by the signatures of their respective counsel below,

stipulate to the dismissal of Plaintiff’s claims against Defendant Mid-Michigan

Credit Bureau, Inc., with prejudice and without attorney’s fees or costs to either

party.



 /s/ Bonita Darcel Grier                       /s/ Herman D. Hofman
Bonita Darcel Grier                            Herman D. Hofman
Plaintiff Pro Se                               Attorney for Defendant
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Case 2:17-cv-13274-GAD-DRG ECF No. 44, PageID.198 Filed 11/08/19 Page 2 of 2




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                     EASTERN DISTRICT OF MICHIGAN

BONITA DARCEL GRIER,                      Case No. 17-cv-13274

      Plaintiff,                          Hon. Gershwin A. Drain

v.

MID-MICHIGAN CREDIT BUREAU,
INC.,

      Defendant.



                         ORDER OF DISMISSAL
                   WITH PREJUDICE AS TO DEFENDANT
                   MID-MICHIGAN CREDIT BUREAU, INC.

      The Court, having reviewed the parties’ stipulation, and finding good cause

shown;

      IT IS HEREBY ORDERED that Plaintiff’s claims against Defendant Mid-

Michigan Credit Bureau, Inc., are hereby dismissed with prejudice and without

fees or costs to either party. The Clerk of the Court shall terminate Defendant

Mid-Michigan Credit Bureau, Inc., as a party in this action and remove its

attorneys of record from receiving ECF Notifications.


Date: November 8, 2019                      s/Gershwin A. Drain
                                            Gershwin A. Drain
                                            U.S. District Court Judge
